                                                                                   Case 2:19-cv-02446-PSG-AGR Document 8 Filed 04/23/19 Page 1 of 2 Page ID #:26



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                                                                                        Synchrony Bank
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                                                                                    8                           UNITED STATES DISTRICT COURT
                                                                                    9                          CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10 ALEJANDRO ODEH-LARA,                           Case No.: 2:19-cv-02446-KS
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                       Plaintiff,               STIPULATION TO EXTEND TIME
                                                                                                                                     FOR DEFENDANT SYNCHRONY
                                                                                   12         vs.                                    BANK TO RESPOND TO
                                                                                                                                     PLAINTIFF’S COMPLAINT BY NOT
REED SMITH LLP




                                                                                   13 SYNCHRONY BANK,                                MORE THAN 30 DAYS (L.R. 8-3)
                                                                                   14                       Defendant.               Complaint served: April 4, 2019
                                                                                   15                                                Current response date: April 25, 2019
                                                                                   16                                                New response date: May 9, 2019
                                                                                   17
                                                                                              Plaintiff Alejandro Odeh-Lara (“Plaintiff”) and Defendant Synchrony Bank
                                                                                   18
                                                                                        (“Defendant”), by and through their respective counsel of record, stipulate as follows:
                                                                                   19
                                                                                              WHEREAS, the Complaint was served on Defendant on April 4, 2019;
                                                                                   20
                                                                                              WHEREAS, pursuant to the Federal Rules of Civil Procedure, Defendant’s
                                                                                   21
                                                                                        response to the Complaint is due on April 25, 2019;
                                                                                   22
                                                                                              WHEREAS, pursuant to Local Rule 8-3, Plaintiff and Defendant wish to extend
                                                                                   23
                                                                                        the deadline for Defendant to file a response to the Complaint by 14 days;
                                                                                   24
                                                                                              WHEREAS, Defendant has not received any prior extensions of time to file a
                                                                                   25
                                                                                        response to the Complaint, and this stipulation is not made for delay or any other
                                                                                   26
                                                                                        improper purpose;
                                                                                   27

                                                                                   28

                                                                                         STIPULATION TO EXTEND TIME FOR DEFENDANT SYNCHRONY BANK TO RESPOND
                                                                                               TO PLAINTIFF’S COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                                                                   Case 2:19-cv-02446-PSG-AGR Document 8 Filed 04/23/19 Page 2 of 2 Page ID #:27



                                                                                    1        WHEREAS, Plaintiff and Defendant hereby agree that Defendant may have an
                                                                                    2 extension until and including May 9, 2019 by which to file a response to Plaintiff’s

                                                                                    3 Complaint.

                                                                                    4

                                                                                    5        IT IS SO STIPULATED.
                                                                                    6
                                                                                        DATED: April 23, 2019                PRICE LAW GROUP, APC
                                                                                    7
                                                                                                                             By: /s/ Brian J. Brazier
                                                                                    8                                        Brian J. Brazier
                                                                                                                             Attorneys for Plaintiff Alejandro Odeh-Lara
                                                                                    9

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                 A limited liability partnership formed in the State of Delaware




                                                                                   11 DATED: April 23, 2019                  REED SMITH LLP
                                                                                   12                                        By: /s/ Raffi Kassabian
                                                                                                                             Raffi Kassabian
REED SMITH LLP




                                                                                   13                                        Attorneys for Defendant Synchrony Bank
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                                                                                        STIPULATION TO EXTEND TIME FOR DEFENDANT SYNCHRONY BANK TO RESPOND
                                                                                              TO PLAINTIFF’S COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
